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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION


CINCINNATI INSURANCE COMPANY                                                        PLAINTIFF

v.                               Case No. 2:19-cv-00115 KGB

ANDREA DIEVERNICH, et al.                                                        DEFENDANTS

                                             ORDER

       Pending before the Court is a stipulation of dismissal with prejudice as to plaintiff

Cincinnati Insurance Company’s (“Cincinnati”) claims against defendant University of Arkansas

for Medical Sciences (“UAMS”) (Dkt. No. 150). The parties represent that UAMS makes no claim

as to the proceeds of the policy which is the subject of the instant action (Id., at 1). The parties

further represent that Cincinnati’s claims against other defendants remain pending at this time

(Id.). For good cause shown, the Court adopts the stipulation of dismissal with prejudice as to

UAMS (Dkt. No. 150). The action is dismissed as to UAMS only.

       Also pending before the Court are UAMS’s motions to dismiss (Dkt. Nos. 113, 148).

Because the Court adopts Cincinnati and UAMS’s stipulation of dismissal as to UAMS, the Court

denies as moot UAMS’s motions to dismiss (Dkt. No. 113, 148).

       It is so ordered this 5th day of November, 2020.


                                                  Kristine G. Baker
                                                  United States District Judge
